
*865OPINION.
MoRRis:
The sole question presented by this proceeding is whether the respondent was justified in increasing the value of good will of the decedent’s business, as returned by his estate.
Considering the decedent’s death and the undoubted loss to the business thereby, coupled with the offers made for the good will by prospective purchasers, the potential competition in the immediate vicinity of the decedent’s business which greatly threatened its future prosperity, the highly specialized nature of the business and the sale at par of $15,000 of the capital stock of the subsequently organized corporation which took over the good will of the business at $25,000, all of which elements were carefully considered by the estate in arriving at the value returned, we are of the opinion that the respondent was in error in increasing the value of the good will to $37,500.
Judgment will be entered for the ‘petitioner upon 15 days' notice, under Bule 50,
